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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
21-10158-MLW
                            UNITED STATES OF AMERICA


                                            v.


                                  PRISCILA BARBOSA

                    MEMORANDUM AND ORDER OF DETENTION

                                      May 26, 2021
DEIN, M.J.

      The defendant is charged in an Indictment with conspiracy to commit wire fraud,

in violation of 18 U.S.C. § 1349. An initial appearance was held remotely on May 7,

2021, at which time the government moved for detention pursuant to 18 U.S.C. §

(f)(2)(A) on the grounds that the defendant poses a serious risk of flight. The

defendant was represented by counsel.

      A detention hearing was scheduled to be held remotely on May 18, 2021. On

May 17, 2021 the defendant requested that the detention hearing be continued until

June 21, 2021, and on May 25, 2021 court was notified by counsel that the defendant

consented to the entry of an order of detention, without prejudice to her right to reopen

the issue at a later date. See Docket Nos. 32, 37.

      Accordingly, it is ORDERED that the defendant be DETAINED pending trial, and

it is further ORDERED --
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       (1)    That the defendant be committed to the custody of the Attorney General

for confinement in a correction facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

       (2)    That the defendant be afforded a reasonable opportunity for private

consultation with counsel; and

       (3)    On order of a court of the United States or on request by an attorney for

the government, the person in charge of the corrections facility in which the defendant is

detained and confined deliver the defendant to an authorized Deputy United States

Marshal for the purpose of any appearance in connection with a court proceeding.

       This order is without prejudice to the defendant filing a motion at any time

seeking a hearing to consider the issue of pretrial detention, regardless whether there

have been changed circumstances.


                                                         / s / Judith Gail Dein
                                                  Judith Gail Dein
                                                  United States Magistrate Judge




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